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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     )
                                             )
              v.                             )       Criminal No: 18-cr-10391-RGS
                                             )
DEREK SHEEHAN,                               )
          Defendant.                         )

                                  JOINT STATUS REPORT

       Pursuant to Local Rule 116.5(a), the parties hereby file the following status report prepared

in connection with the status conference scheduled for December 17, 2018.

(1)    Automatic Discovery/Pending Discovery Requests

       The Government has provided automatic discovery as well as documents, materials, and
       information whose production is not required by federal or local rule. The defendant is
       reviewing the discovery materials and has requested certain additional items. Beyond those
       requests, he does not yet know whether he will make additional discovery requests.

(2)    Additional Discovery

       The Government has agreed to provide certain additional items, and may decline to
       produce others. The parties are also in the process of arranging an opportunity for counsel
       to view the forensic evidence in the custody of the FBI.

(3)    Timing of Additional Discovery Requests

       The parties are in the process of conferring about the pending discovery requests, and will
       be positioned to seek the Court’s intervention (if necessary) before the interim status
       conference.

(4)    Protective Orders

       No additional protective orders are anticipated by the parties.

(5)    Pretrial Motions
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       It is premature to decide whether the Defendant will file any pretrial motions under Fed.
       R. Crim. P. 12(b).

(6)    Expert Discovery

       The Government agrees to provide any expert witness disclosures 21 days prior to trial.
       The Defendant agrees to provide any expert witness disclosures 14 days prior to trial.

(7)    Speedy Trial Act

       All of the time has been excluded from the defendant=s indictment through the date of the
       initial status conference scheduled for December 17, 2018. The parties request that the
       time be excluded until the interim status conference, pursuant to the provisions of 18 U.S.C.
       § 3161(h)(7)(A).

(8)    Next Status Conference

       Given all of the foregoing information, the parties request that the initial status conference,
       scheduled for December 17, 2018, be canceled. The parties request an interim status
       conference in approximately 30 days.

                                                      Respectfully submitted,

       DEREK SHEEHAN                                  ANDREW E. LELLING
       Defendant                                      United States Attorney

By:    /s/ William Keefe_____                 By:     /s/ Anne Paruti_______
       William Keefe                                  Anne Paruti
       Attorney for Derek Sheehan                     Assistant U.S. Attorney


Dated: December 17, 2018


                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing upon all counsel of
record by electronic filing notice.
                                                     /s/ Anne Paruti_______
                                                     Assistant U.S. Attorney
Dated: December 17, 2018
